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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA
                             HAMMOND DIVISION

 UNITED STATES OF AMERICA,                  )
                                            )
              v.                            )    No. 2:16 CR 55
                                            )
 MARK CHERRY                                )

                      ACCEPTANCE OF PLEA OF GUILTY AND
                              ADJUDICATION

       Pursuant to the Report and Recommendation of the United States Magistrate

 Judge (DE # 86), to which the defendant has waived objection, and subject to this

 court’s consideration of the Plea Agreement (DE # 82) pursuant to FED. R. CRIM. P.

 11(c)(3), the Magistrate Judge’s findings are now ADOPTED, defendant’s plea of guilty

 to the offense charged in Count 2 of the Second Superseding Indictment (DE # 39) is

 now hereby ACCEPTED, and defendant is adjudged guilty of that offense. A

 sentencing date will be set under separate order.

                                            SO ORDERED.

       Date: November 4, 2016

                                            s/James T. Moody
                                            JUDGE JAMES T. MOODY
                                            UNITED STATES DISTRICT COURT
